Case 5:16-cv-01128-AB-SP Document 162 Filed 04/04/18 Page 1 of 2 Page ID #:2568




   1 LAW OFFICES OF DALE K. GALIPO
     Dale K. Galipo (SBN 144074)
   2 E-mail: dalekgalipo@yahoo.com
     Hang Le (SBN 293450)
   3 E-mail: hlee@galipolaw.com
     21800 Burbank Blvd., Suite 310
   4 Woodland Hills, CA 91367
     Tel: (818) 347-3333, Fax: (818) 347-4118
   5 LAW OFFICE OF JAMES S. TERRELL
     James S. Terrell, Esq. (SBN: 170409)
   6 Email: jim@talktoterrell.com
     15411 Anacapa Road
   7 Victorville, CA 92392
     Tel: (760) 951-5850, Fax: (760) 952-1085
   8
     LAW OFFICE OF SHARON J. BRUNNER
   9 Sharon J. Brunner, Esq. (SBN: 229931)
     Email: sharonjbrunner@yahoo.com
  10 14393 Park Avenue, Suite 100
     Victorville, CA 92392
  11 Tel: (760) 243-9997, Fax: (760) 843-8155
  12 Attorneys for Plaintiff DOMINIC ARCHIBALD
  13 LAW    OFFICE of ROBERT D. CONAWAY
     Robert D. Conaway (SBN 119657)
  14 12127  Mall Blvd 4-363
     Victorville, CA 92392
  15 Tel: (760) 503-9010, Fax: (760) 503-901 I
     Email: rdconaway@gmail.com
  16 Attorney for Plaintiff NATHANAEL PICKETT I
  17
  18
                         UNITED STATES DISTRICT COURT
  19
                       CENTRAL DISTRICT OF CALIFORNIA
  20
  21 DOMINIC ARCHIBALD AND                   Case No. 5:16-cv-01128 –AB-SPx
     NATHANAEL PICKET, I, AS
  22 INDIVIDUALS AND AS                      Honorable André Birotte Jr.
     SUCCESSORS IN INTEREST TO
  23 NATHANAEL H. PICKETT II,
     DECEASED.                               NOTICE OF LODGING OF
  24                                         [PROPOSED] JUDGMENT
                       Plaintiffs,
  25
                   vs.
  26
     COUNTY OF SAN BERNARDINO,
  27 KYLE HAYDEN WOODS, and DOES
     2-10, INCLUSIVE,
  28                   Defendants.

                                            -1-
                                                  NOTICE OF LODGING OF PROPOSED JUDGMENT
Case 5:16-cv-01128-AB-SP Document 162 Filed 04/04/18 Page 2 of 2 Page ID #:2569




   1        PLEASE TAKE NOTICE that Plaintiffs DOMINIC ARCHIBALD and
   2 NATHANAEL PICKETT, I, pursuant to Fed. R. Civ. P. 58 and this Court’s orders,
   3 hereby lodge their [Proposed] Judgment.
   4
   5 Respectfully Submitted,
   6 DATED: April 4, 2018
                                         LAW OFFICES OF DALE K. GALIPO
   7
                                         LAW OFFICE OF JAMES S. TERRELL
   8                                     LAW OFFICES OF SHARON J. BRUNNER
   9
                                   By:   ____/s/ Hang D. Le
  10
                                         Dale K. Galipo
  11                                     James S. Terrell
                                         Sharon J. Brunner
  12
                                         Hang Le
  13                                     Attorneys for Plaintiff
                                         DOMINIC ARCHIBALD
  14
  15
       DATED: April 4, 2018       LAW OFFICES OF ROBERT D. CONAWAY
  16
  17
                                   By: __/s/ Robert D. Conaway___________
  18
                                         Robert D. Conaway
  19                                     Attorneys for Plaintiff
                                         NATHANAEL PICKETT, I
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -2-
                                                     NOTICE OF LODGING OF PROPOSED JUDGMENT
